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January 10, 2020
                                                                       1/10/2020
VIA ECF

The Honorable Vernon S. Broderick
United States District Court
Southern District of New York
40 Foley Square
New York, New York 10007

       Re:     United States v. Michael Mendlowitz, S2 17-cr-0248 (VSB)

Dear Judge Broderick:

        On behalf of Defendant Michael Mendlowitz, we respectfully request that he be permitted
to travel with his wife to Miami, Florida on Tuesday, January 14, returning Thursday, January 16.
The purpose of the trip is to visit Mr. Mendlowitz’s grandmother, who lives in California but will
be in Miami during that time.

        Mr. Mendlowitz’s Pretrial Services Officer (in the Eastern District of New York) has been
informed of Mr. Mendlowitz’s itinerary and has no objection to this request, and further confirms
that the Pretrial Office for the Southern District of New York has no objection. The government,
through AUSA David Abramowicz, also does not object.

       Thank you in advance.



                                                    Respectfully submitted,

                                                    /s/ Nicholas Karasimas

                                                    Nicholas Karasimas
                                                    Smith Villazor LLP

cc: AUSA David Abramowicz
